                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN


RUTHELLE FRANK, et al., on behalf of
themselves and all others similarly situated,
                                                        Civil Action No. 2:11-cv-01128 (LA)
                               Plaintiffs,

v.

SCOTT WALKER, in his official capacity as
Governor of the State of Wisconsin, et al.,

                               Defendants.


MOTION FOR PRELIMINARY INJUNCTION AS TO ELEVEN NAMED PLAINTIFFS

       Plaintiffs Shirley Brown, Sam Bulmer, Pamela Dukes, Carl Ellis, Ruthelle Frank,

Mariannis Ginorio, Rickie Lamont Harmon, Eddie Lee Holloway, Barbara Oden, DeWayne

Smith, and Nancy Lea Wilde (collectively, “Plaintiffs”), through their counsel, respectfully move

this Court pursuant to Fed. R. Civ. P. 65(a) to enter an order enjoining enforcement of the

Wisconsin photo ID law, 2011 Wisconsin Act 23 (“the photo ID law”) as to Plaintiffs. In the

alternative, as to Plaintiffs Brown, Bulmer, Dukes, Ellis, Frank, Ginorio, Holloway, Oden,

Smith, and Wilde, Plaintiffs request that they be allowed to vote by providing an affidavit of

identity at the polling place or with an absentee ballot as a substitute for a photo ID requirement.

Plaintiffs Bulmer, Ellis, and Harmon alternatively request that they be allowed to vote using their

Veterans Identification Cards (“VICs”).

       In support of this Motion, Plaintiffs concurrently submit a Memorandum in support of the

Motion and Declarations and Exhibits thereto, which are hereby incorporated within this Motion

by reference.




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   Respectfully submitted this 2nd day of March, 2012,



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